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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION


LAWREN CE P. CIUFFITELLI, et al.,
                                                                             No. 3:16-cv-00580-AC
                Plaintiffs,
                                                                           OPINION AND ORDER
       V.

DELOITTE & TOUCHE LLP, et al.,

               Defendants.

MOSMAN,J.,

       On September 21, 2018, Defendant Deloitte & Touche LLP's ("Deloitte") moved to

compel documents related to Plaintiffs' financial condition at the time of their Aequitas security

transactions and to Plaintiffs' damages claims. 1 [364]. On December 10, 2018, Judge Acosta

issued an Order on Defendant's Motion to Compel [421] that denied Deloitte's September 2018

Motion as well as a second motion to compel filed in October 2018. Deloitte filed objections

[431] to Judge Acosta's order denying the September 2018 motion to compel documents related

to Plaintiffs' financial condition. Plaintiffs filed a response [446] opposing Deloitte's objections.

                                          DISCUSSION

       When a magistrate judge has ruled on a non-dispositive matter, I may reconsider his

decision only if the objecting party has "shown that the magistrate judge's order is clearly

       1The parties reached agreement regarding production of documents related to damages
claims before Judge Acosta issued his Order. [405].
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en-oneous or contrary to law." 28 U.S.C. § 636(b)(l)(A); see also Fed. R. Civ. P. 72(a). I am

not required to review the factual or legal conclusions of a magistrate judge to which a party has

not objected. Thomas v. Arn, 474 U.S. 140, 149 (1985); United States v. Reyna-Tapia, 328 F.3d

1114, 1121 (9th Cir. 2003). While the level of scrutiny with which I am required to review the

magistrate judge's decision depends on whether the matter is dispositive and whether objections

have been filed, in either case, I am free to accept, reject, or modify any pati of the magistrate

judge's recommendation. 28 U.S.C. § 636(b)(l)(C).

       Upon careful review, I agree with Judge Acosta's analysis, and I affam his Order [421]

denying Deloitte's Motion to Compel Production of Plaintiffs' Financial Condition and Damages

Documents.

       IT IS SO ORDERED.

       DATED this ~        day of February, 2019.




                                                              Chief United       es District Judge




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